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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division


OZIE BRADFORD,

                     Plaintiff,

V.                                                Civil Action No. 3:18-cv-570-HEH


JAMES MATTIS,
Secretary, U.S. Department of
Defense, Defense Contract
Management Agency,

                     Defendant.


                              MEMORANDUM OPINION
                       (Granting Defendant's Motion to Dismiss)

        This matter is before the Court on a Motion to Dismiss(the "Motion," ECF No. 3),

filed on November 5, 2018 on behalf of James Mattis ("Defendant"), the Secretary of

Defense of the United States. Ozie Bradford (pro se "Plaintiff), who received a copy of

Defendant's Motion and its Memorandum in Support(ECF No. 4), has failed to file any

response in opposition. Accordingly, and pursuant to Local Rule 7(J), the matter is ripe

for this Court's review, and the Court will dispose ofthe matter without a hearing

because the relevant legal issues have been sufficiently developed. See Fed. R. Civ. P.

78.


                                  1.      BACKGROUND


        Plaintiff seeks relief under Title VII ofthe Civil Rights Act of 1964,42 U.S.C. §§

2000e, et. seq., and Section 501 ofthe Rehabilitation Act of 1973, 29 U.S.C. § 791.

Plaintiff is a federal employee with the Defense Contract Management Agency
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("DCMA"),located in Fort Lee, Virginia, and he alleges that he was subjected to various

forms of harassment and discrimination by his supervisor from late 2012 through 2014.

(Compl.        1, 9-42.) In addition. Plaintiff alleges that his supervisor revoked Plaintiffs

reasonable accommodation, a flexible work schedule, withoutjustification.' (Id. at ^ 21.)

         Defendant has provided additional, relevant documents that are attached as

exhibits to his Memorandum in Support ofthe Motion to Dismiss. These exhibits detail

the administrative steps Plaintiff took to prosecute his discrimination claims. (Def.'s

 Mem. in Supp. Exs. 1-5, ECF Nos. 4-1-4-5.) Specifically, Defendant filed a formal

complaint of discrimination on January 16, 2015. (Def.'s Mem.in Supp. Ex. 1.)

Thereafter, Plaintiff requested a hearing before the Equal Employment Opportunity

Commission("EEOC"),to which DCMA filed a Motion for Summary Judgment. (Def.'s

Mem.in Supp. Ex. 3.) On May 1, 2018, an EEOC administrative law judge granted

DCMA's Motion for Summary Judgment. (Id.) DCMA then entered a Final Agency

Action("FAA")on May 7, 2018. (Id.) Plaintiff appealed the FAA on June 20, 2018 to

the EEOC's Office of Federal Operations("OFO"). (Def.'s Mem. in Supp. Ex. 4.)

Notably, in addition to appealing the FAA,Plaintiff also filed the current civil action on

August 17, 2018—^this action was filed before OFO could resolve Plaintiffs appeal.

        In his Motion, Defendant argues that the Court lacks subject matter jurisdiction

over Plaintiffs Complaint because he failed to properly exhaust his administrative

remedies—a factor that is essential to this Court's jurisdiction over Plaintiffs claims.


'The Court concludes for reasons detailed infra that it lacks subject matterjurisdiction over Plaintiffs
Complaint. Therefore, a detailed recitation ofPlaintiffs factual allegations is unnecessary to the Court's
disposing ofthe matter.
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(See generally Def.'s Mem in Supp.) The Court is persuaded by Defendant's arguments,

and consequently, the Court will grant Defendant's Motion for the reasons detailed

below.


                            11.    STANDARD OF REVIEW


       A challenge to a court's subject matter jurisdiction can occur at any point during

litigation because subject matter jurisdiction invokes the court's power to resolve a legal

dispute. See Fed. R. Civ. P. 12(b)(1); Arbaugh v. Y&H Corp., 546 U.S. 500, 514(2006)

(stating subject matter jurisdiction can never be forfeited or waived). A challenge to

subject matter jurisdiction under Rule 12(b)(1) may be facial or factual. A facial

challenge contends that the complaint fails to allege facts upon which subject matter

jurisdiction can be based. In reviewing such a challenge, "all the facts alleged in the

complaint are assumed to be true and the plaintiff... is afforded the same procedural

protection as he would receive under a Rule 12(b)(6) consideration." Adams v. Bain,697

F.2d 1213, 1219(4th Cir. 1982).

       Alternatively, if a defendant makes a factual challenge to subject matter

jurisdiction,"the district court may then go beyond the allegations ofthe complaint and

resolve the jurisdictional facts in dispute by considering evidence outside the

pleadings ...." U.S. ex rel. Vvyyuru v. Jadhav, 555 F.3d 337, 348(4th Cir. 2009)(citing

Adams,697 F.2d at 1219). However,the court's consideration ofinformation beyond the

pleadings does not necessarily convert a 12(b)(1) motion to one for summary judgment.

Evans v. B.F. Perkins Co., 166 F.3d 642,647(4th Cir. 1999)(citation omitted);

McBurney v. Cuccinelli, 616 F.3d 393,409(4th Cir. 2010)(Agee, J., concurring in part

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and dissenting in part)(motions under Rule 12(b)(1) are not restricted by Rule 12(d)).

Regardless of whether a 12(b)(1) challenge is facial or factual, the plaintiff bears the

burden of proving jurisdiction by a preponderance of evidence. Jadhav, 555 F.3d at 347-

48; Richmond, Fredericksburg & Potomac R.R. Co. v. United States, 945 F.2d 765, 768

(4th Cir. 1991).

       In addition, a court must review pro se complaints with a liberal construction.

Later v. Harvey,438 F.3d 404,413 n.3 (4th Cir. 2006). However, this requirement

cannot excuse a clear failure in the pleadings to allege a federally cognizable claim. See

Weller v. Dep't ofSoc. Servs., 901 F.2d 387, 390-91 (4th Cir. 1990). As the Fourth

Circuit explained in Beaudett v. City ofHampton,"[tjhough \pro se] litigants cannot, of

course, be expected to frame legal issues with the clarity and precision ideally evident in

the work ofthose trained in law, neither can district courts be required to conjure up and

decide issues never fairly presented to them." 775 F.2d 1274, 1276(4th Cir. 1985).

                                   III.   DISCUSSION


       Congress intended for Title VII's protections to apply equally to federal

employees. See 42 U.S.C. § 2000e-16(a),(c). However, before a federal employee can

avail himself of Title VII's enforcement provisions under 42 U.S.C. § 2000e-5, he must

first exhaust the administrative remedies that are available to him. See generally 29

C.F.R. §§ 1614, et. seq', Hentosh v. Old Dominion Univ., 767 F.3d 413,416(4th Cir.

2014)("Prior to pursuing a Title VII claim in federal court, a plaintiff must exhaust her

administrative remedies by filing a charge of discrimination with the EEOC.")(citation

omitted). "[A] failure by the plaintiff to exhaust administrative remedies concerning a

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Title VII claim deprives the federal courts of subject matter jurisdiction over the claim."

Hentosh,161 F.3d at 416 {o^otmg Jones v. Calvert Grp., Ltd., 551 F.3d 297, 300(4th

Cir. 2009)),

       The Court now turns to the administrative remedies that are implicated in the

current matter. Following the unsuccessful outcome of a discrimination complaint, a

complainant may appeal an "agency's final action or dismissal of a complaint," within 30

days ofthe receipt ofthat decision. 29C.F.R. §§ 1614.401(a), 1614.402. Furthermore,

29 C.F.R. § 1614.407 states:

       A complainant who has filed an individual complaint... is authorized
       under title Vll, the ADEA and the Rehabilitation Act to file a civil action in
       an appropriate United States District Court:
                                           * * *


      (c) Within 90 days ofreceipt of the Commission's final decision on an
       appeal; or
      (d)After 180 days fi*om the date of filing an appeal with the Commission if
      there has been no final decision by the Commission.

29 C.F.R. § 1614.407. However,"[ojnce a complainant has chosen to appeal a final

agency action for review by the EEOC,the complainant is committed to that course of

action, and cannot abandon administrative review in favor of bringing a civil action."

Fleming v. Potter, No. 2:04CV444, 2005 WL 1185806, at *5(E.D. Va. May 17, 2005)

(collecting cases).

       In the current matter. Plaintiff filed his appeal with OFO on June 20, 2018. By

choosing this administrative path. Plaintiff was obligated to pursue it until he received a

final decision,see § 1614.407(c), or until 180 days had passed without receiving a final

decision,see § 1614.407(d). Simply put. Plaintiff failed to exhaust this administrative
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path when he filed the current civil action. Rather, Plaintiffs Complaint was filed on

August 17, 2018, prior to the resolution of his appeal and only 58 days after he noticed

his appeal. Thus, Plaintiff did not receive a final decision on his appeal prior to filing this

suit andhQ also fell significantly short of § 1614.407(d)'s 180-day requirement.

Furthermore, the fact that the OFO eventually rendered an opinion on October 18, 2018^

is inconsequential because Plaintiffs Complaint lacked subject matter jurisdiction at the

time it was filed. See Nationwide Mut. Ins. Co. v. Simms, 231 F. Supp. 787, 792(D. Md.

1964)("It is a basic and well established principle thatjurisdiction must exist at the time

ofthe filing ofthe complaint...."). Thus, the subsequent rendering of a final decision

by OFO does not retroactively cure the jurisdictional defect in Plaintiffs Complaint.

Therefore, because Plaintiff failed to exhaust his administrative remedies in this case, the

Court is without subject matter jurisdiction to hear the matter, and Defendant's Motion to

Dismiss will be granted. An accompanying Order will follow this Memorandum

Opinion.




                                                        Henry E. Hudson
                                                        Senior United States District Judge

Datei'^feg.           7,0
Richmond, Virginia


^ OFO ultimately dismissed Plaintiffs appeal because it was untimely. "A review ofthe final order
reveals that the Agency properly advised Complainant that he had 30 calendar days after receipt of its
final order to file an appeal with the Commission. In order to be timely, Complainant would have had to
file his appeal by June 18,2018.... Accordingly, Complainant's June 20, 2018 appeal is untimely and is
DISMISSED. See 29 C.F.R. § 1614.403(c)." (Def.'s Mem. in Supp. Ex. 5.)
